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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :      CASE NO. 21-cr-6 (TJK)
               v.                              :
                                               :
DOUGLAS AUSTIN JENSEN,                         :
                                               :
                       Defendant.              :



                               JOINT PRETRIAL STATEMENT

       Pursuant to the Court’s February 11, 2022, order (ECF 59), the parties hereby jointly

submit this pretrial statement. As directed, the parties will deliver a Microsoft Word version of this

document and attachments to the Court by email to Kelly_Chambers@dcd.uscourts.gov.

   A. Joint Statement of the Case

       The parties have agreed that the following is an appropriate statement of the case:

       This is a criminal case. The government has charged the defendant, Douglas Austin Jensen,

with violating seven separate federal criminal laws based on his presence inside the U.S. Capitol

on January 6, 2021.      Specifically, the government alleges that Mr. Jensen interfered with

Congress’s meeting to certify the results of the 2020 presidential election; that he obstructed and

interfered with, and that he resisted, opposed, impeded, and intimidated United States Capitol

Police Officer Eugene Goodman; that he unlawfully entered and engaged in disorderly and

disruptive conduct inside the U.S. Capitol building while carrying a knife; and that he engaged in

disorderly conduct and paraded, demonstrated, and picketed inside the U.S. Capitol building. Mr.

Jensen denies each and every charge.

   B. Proposed Voir Dire Questions

       The parties’ jointly-proposed voir dire questions are set forth in a separate attached exhibit.
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   C. Proposed Jury Instructions

       The parties’ jointly-proposed jury instructions are set forth in a separate attached exhibit.

There parties are in agreement on all proposed jury instructions.

   D. Expert Witnesses

       Neither the government nor the defense intends to call any expert witness to testify at trial.

In the event either party learns of new circumstances that warrant expert testimony, that party will

promptly notify the Court and opposing counsel.

   E. Prior Convictions

       The government does not intend to use any prior convictions of the defendant for

impeachment or any other purpose.

   F. Government Exhibits

       The list of government exhibits is attached.

   G. Stipulations

       The parties have reached stipulations which are attached.

   H. Lesser Included Offenses

       The government may seek a jury instruction on two lesser included offenses, as listed

below. Jury instructions relevant to both lesser included offenses are included in the attached Jury

Instructions exhibit.

               Count Four: Entering or Remaining in a Restricted Building or Grounds (but not

                            with a Deadly or Dangerous Weapon), in violation of 18 U.S.C.

                            § 1752(a)(1) (but not (b)(1)(A)).

               Count Five: Disorderly or Disruptive Conduct in a Restricted Building or Grounds

                            (but not with a Deadly or Dangerous Weapon), in violation of 18

                            U.S.C. § 1752(a)(2) (but not (b)(1)(A)).


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   I. Proposed Verdict Form

       The parties’ jointly-proposed verdict form is attached.



       Dated August 10, 2022.

Respectfully submitted,

 For the United States:                             For the Defendant:

      MATTHEW M. GRAVES                             DOUGLAS AUSTIN JENSEN
      United States Attorney                        Defendant
      D.C. Bar No. 481052

  By: /s/ Emily W. Allen                            /s/ Christopher M. Davis
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